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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST                               Case No. 18-1776 (JRT/JFD)
LITIGATION
                                                   [PROPOSED] ORDER GRANTING
                                                   PRELIMINARY APPROVAL OF THE
                                                   CLASS ACTION SETTLEMENT
                                                   BETWEEN CONSUMER INDIRECT
This Document Relates to:                          PURCHASER PLAINTIFFS AND
                                                   DEFENDANT SMITHFIELD FOODS,
All Consumer Indirect Purchaser Plaintiff          INC. AND TO DIRECT NOTICE TO THE
Actions                                            SETTLEMENT CLASS


         The Court finds good cause to GRANT the Consumer Indirect Purchaser

Plaintiffs’ Motion for Preliminary Approval of the Class Action Settlement between

Consumer Indirect Purchaser Plaintiffs and Defendant Smithfield Foods, Inc. and to

Direct Notice to the Settlement Class.

         Accordingly, it is hereby ORDERED:

         A.       Preliminary Approval of Settlement Agreement and Certification of
                  Settlement Class

         This Court has jurisdiction over this action and each of the parties to the

Settlement Agreement. Upon review of the record, the Court finds that the proposed

Settlement Agreement, which was arrived at by arm’s-length negotiations by highly

experienced counsel with the assistance of an experienced and nationally renowned

mediator, falls within the range of possible approval and is hereby preliminarily

approved, subject to further consideration at the Court’s Fairness Hearing.




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         The Court finds that provisional certification of the Settlement Class is warranted

for settlement purposes only in light of the Settlement Agreement because: (a) the

Settlement Class members are so numerous that joinder is impracticable; (b) the

consumer IPPs’ claims present common issues and are typical of the claims of the

Settlement Class; (c) the consumer IPP named class representatives and Settlement Class

Counsel (defined below) will fairly and adequately represent the Settlement Class; and

(d) common issues predominate over any individual issues affecting the members of the

Settlement Class. The Court further finds that the named representative consumer IPPs’

interests are aligned with the interests of all other members of the Settlement Class. The

Court also finds settlement of this action on a class basis is superior to other means of

resolving the matter.

         The Court finds that the Settlement Agreement is preliminarily determined to be

fair, reasonable, adequate, and in the best interests of the Settlement Class, raises no

obvious reasons to doubt its fairness, and raises a reasonable basis for presuming that the

Settlement Agreement and its terms satisfy the requirements of Federal Rules of Civil

Procedure 23(a), 23(b)(3), 23(c)(2) and 23(e) and due process so that notice of the

Settlement should be given to the Settlement Class.

         This Court certifies a Settlement Class defined as:

                       [A]ll persons and entities who indirectly purchased pork from any of the
                       Defendants or any co-conspirator, or their respective subsidiaries or
                       affiliates, for personal use in the United States from at least as early as
                       January 1, 2009 until April 1, 2021. Specifically excluded from the
                       Settlement Class are the Defendants; the officers, directors or employees
                       of any Defendant; any entity in which any Defendant has a controlling
                       interest; and any affiliate, legal representative, heir or assign of any

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                 Defendant. Also excluded from this Settlement Class are any federal,
                 state, or local governmental entities, any judicial officer presiding over
                 this action and members of his/her immediate family and judicial staff,
                 and any juror assigned to this action.
         The Court appoints the law firms of Hagens Berman Sobol Shapiro LLP and

Gustafson Gluek PLLC as Co-Lead Counsel for the Settlement Class.

         Each consumer IPP class representative named in the live complaint in the above

case will serve as a class representative on behalf of the Settlement Class.

         B.       Approval of the Notice Plan

         The Court hereby directs notice to be distributed to the Settlement Class members

pursuant to Federal Rule of Civil Procedure (“Rule”) 23(c)(2).

         The proposed notice plan set forth in the Memorandum and the supporting

declarations comply with Rule 23(c)(2)(B) and due process as it constitutes the best notice

that is practicable under the circumstances, including individual notice via mail and email

to all members who can be identified through reasonable effort. The direct mail and email

notice will be supported by reasonable publication notice to reach potential members of the

Settlement Class who could not be individually identified.

         The Court appoints A.B. Data as the settlement notice administrator and the

administrator of the settlement funds. The notice documents attached to the Declaration of

Eric Schachter, submitted in support of the motion for preliminary approval, and their

manner of transmission, comply with Rule 23(c)(2)(B) and due process because the notices

and forms are reasonably calculated to adequately apprise Settlement Class of (i) the nature

of the action; (ii) the definition of the class certified; (iii) the class claims, issues, or

defenses; (iv) that a Settlement Class member may enter an appearance through an attorney

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if the member so desires; (v) that the court will exclude from the Settlement Class any

member who requests exclusion; (vi) the time and manner for requesting exclusion; and

(vii) the binding effect of a class judgment on members of the class under Rule 23(c)(3).

Non-substantive changes, such as typographical errors, can be made to the notice

documents by agreement of the parties without leave of the Court.

         After Class Notice has been disseminated, the Court shall hold a hearing on the

proposed Settlements to determine whether they are fair, reasonable, and adequate, and

whether they should be finally approved by the Court (the “Final Approval Hearing”).

         After Notice has been disseminated, Class Members who wish to exclude

themselves from the proposed Settlement will be required to submit an appropriate and

timely request for exclusion, and Class Members who wish to object to the proposed

Settlement must submit an appropriate and timely written statement of the grounds for

objection. Class Members who wish to appear in person to object to any of these

Agreements may do so at the Final Approval Hearing pursuant to directions by the Court.

         The proposed notice plan will be carried out pursuant to the schedule described in

the Memorandum.

         If the Settlement Agreement is not granted Final Approval following the Final

Approval Hearing or is cancelled or terminated pursuant to Paragraph 20 of the Settlement

Agreement, then the Settlement Agreement and all proceedings had in connection

therewith shall be vacated, and shall be null and void, except insofar as expressly provided

otherwise in the Settlement Agreement, and without prejudice to the status quo and rights

of consumer IPPs, Smithfield, and the members of the Settlement Class. The parties shall

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also comply with any terms or provisions of the Settlement Agreement applicable to the

settlement not becoming final.

         Neither this Order nor the Settlement Agreement shall be deemed or construed to

be an admission or evidence of a violation of any statute, law, rule, or regulation or of any

liability or wrongdoing by Smithfield or of the truth of any of consumer IPPs’ claims or

allegations, nor shall it be deemed or construed to be admission or evidence of Smithfield’s

defenses.

         The Court approves the establishment of the Settlement Fund described in

Paragraphs 9, 10, and 12 of the Settlement Agreement as a qualified settlement fund

(“QSF”) pursuant to Internal Revenue Code Section 468B and the Treasury Regulations

promulgated thereunder and retains continuing jurisdiction as to any issue that may arise

in connection with the formation and/or administration of the QSF. Settlement Class

Counsel are, in accordance with the Settlement Agreement and subject to any necessary

Court approval, authorized to expend funds from the QSF for the payment of the costs of

notice, payment of taxes, and settlement administration costs.

         The Action with respect to the Consumer Indirect Purchaser Plaintiffs’ Claims is

stayed as to the Released Parties (as that term is defined in the Settlement Agreements)

except as necessary to effectuate the Settlements.

         IT IS SO ORDERED.



DATED: _______________________



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                                     HONORABLE JOHN R. TUNHEIM
                                     UNITED STATES DISTRICT COURT JUDGE




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